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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 In Re:                                        )     Chapter 7
                                               )
 Josiah M. Cox and Laura E. Cox,               )     Case No. 14-04114
                                               )
                Debtors,                       )     Adv. Pro. No.
                                               )
                                               )     Complaint to Determine
                                               )     Dischargeabilty of Debt
 Jay R. Herigodt & Joy Stowell,                )
                                               )
 v.                                            )
                                               )
 Josiah M. Cox,                                )
                                               )
          Defendant.                           )
                                               )

                              MEMORANDUM OF DISMISSAL

          COME NOW, Plaintiffs, Jay Herogodt and Joy Stowell and hereby dismiss their cause of

 action against Josiah Cox with prejudice.




                                                     Respectfully Submitted,



                                                     /s/ Jason A. Charpentier
                                                     JASON A. CHARPENTIER MO 52840
                                                     7733 Forsyth, Suite 325
                                                     St. Louis, Missouri 63105
                                                     T: (314) 725-1912
                                                     F: (314) 261-7326
                                                     Jason@groweeisen.com
                                                     Attorney for Plaintiffs
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 1st of December, 2014 I electronically filed foregoing pleading
 with the Clerk of the Court using the CM/ECF system which will send notification of such filing
 to all parties/attorneys of record.

 Office of the U.S. Trustee
 111 South Tenth Street, Suite 6353
 St. Louis, MO 63102

 Stuart Jay Radloff, Esq.
 Chapter 7 Trustee
 13321 N. Outer 40 Road, Suite 800
 St. Louis, MO 63017

 Peter D. Kerth
 Jenkins & Kling, P.C.
 150 N. Meramec Ave., Suite 400
 St. Louis, MO 63105

 Robert E. Eggmann
 Danielle Suberi
 7733 Forsyth Boulevard, Suite 2075
 St. Louis, Missouri 63105
 T: (314) 881-0800
 F: (314) 881-0820
 reggmann@demlawllc.com
 dsuberi@demlawllc.com
 Attorneys for Defendant Josiah Cox



                                                      /s/ Jason A. Charpentier




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